      Case 2:20-cv-00262-JAP-GBW Document 15 Filed 04/16/20 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


 RONALD HURD,

              Plaintiff,

       v.                                         No. 2:20-cv-00262-CG-GBW

 NOVARTIS PHARMACEUTICALS
 CORPORATION,

              Defendant.



                    CERTIFICATE OF GOOD STANDING AND
                ENTRY OF APPEARANCE FOR ROBERT E. JOHNSTON

       Pursuant to D.N.M. LR-Civ 83.3, Bradford C. Berge, a member of the Bar of the United

States District Court for the District of New Mexico, certifies that Robert E. Johnston is a

member in good standing of the District of Columbia Bar and the Bar of the States of Maryland

and Montana. Robert E. Johnston hereby enters his appearance on behalf of the defendant,

Novartis Pharmaceuticals Corporation.



                                              Respectfully Submitted,

                                              HOLLAND & HART LLP


                                              By: /s/ Bradford C. Berge
                                              Bradford C. Berge
                                              Julia Broggi
                                              110 North Guadalupe, Suite 1
                                              P.O. Box 2208
                                              Santa Fe, New Mexico 87504-2208
                                              (505) 988-4421
                                              BBerge@hollandhart.com
                                              JBroggi@hollandhart.com
       Case 2:20-cv-00262-JAP-GBW Document 15 Filed 04/16/20 Page 2 of 2



                                            - and –

                                            Robert E. Johnston, Esq.
                                            Donald R. McMinn, Esq.
                                            Andrew L. Reissaus, Esq.
                                            HOLLINGSWORTH LLP
                                            1350 I Street Northwest
                                            Washington, District of Columbia 20005
                                            (202) 898-5800
                                            RJohnston@Hollingsworthllp.com
                                            DMcminn@Hollingsworthllp.com
                                            AReissaus@Hollingsworthllp.com

                                            Attorneys for Defendant Novartis
                                            Pharmaceuticals Corporation




                               CERTIFICATE OF SERVICE

        The undersigned certifies that on this 16th day of April 2020, the foregoing was filed
electronically through the CM/ECF system, which caused the following counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing:

        Justin R. Kaufman                                    Raymond C. Silverman (Pro Hac
        Rosalind B. Bienvenu                                 Vice pending)
        Caren I. Friedman                                    PARKER WAICHMAN LLP
        505 Cerrillos Road, Suite A209                       6 Harbor Park Dr.
        Santa Fe, NM 87501                                   Port Washington, NY 11050
        Telephone: (505) 986-0600                            Telephone: (516) 466-6500
        Facsimile: (505) 986-0632                            Facsimile: (516) 466-6665
        jkaufman@dpslawgroup.com                             rsilverman@yourlawyer.com
        rbienvenu@dpslawgroup.com
        cfriedman@dpslawgroup.com                            Counsel for Plaintiff



                                            By:       /s/ Bradford C. Berge
                                                      Bradford C. Berge


14506217_v1




                                               2
